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Attorneys for Defendants


                        IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO



SAINT ALPHONSUS HEALTH ALLIANCE,
INC. f/k/a ADVANTAGE CARE NETWORK,                Case No. 1:18-cv-00183-DCN
INC., an Idaho corporation, and SAINT
ALPHONSUS HEALTH SYSTEM, INC. an                  STIPULATION FOR EXTENSION
Idaho corporation,                                OF TIME TO FILE RESPONSE AND
                                                  REPLY TO DEFENDANTS' MOTION
                       Plaintiffs,                FOR LEAVE TO AMEND ANSWER
                                                  TO ADD COUNTERCLAIMS (DKT.
v.                                                19)

CORIZON, LLC, f/k/a CORRECTIONAL
MEDICAL SYSTEMS, INC., a Missouri
limited liability company, and CORIZON
HEALTH, INC., a Delaware corporation,

                       Defendants.


STIPULATION FOR EXTENSION OF TIME TO FILE RESPONSE AND REPLY TO
DEFENDANTS' MOTION FOR LEAVE TO AMEND ANSWER TO ADD
COUNTERCLAIMS (DKT. 19) - 1
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       COME NOW, the parties, Plaintiffs Saint Alphonsus Health Alliance, Inc., f/k/a

Advantage Care Network, Inc. and Saint Alphonsus Health System, Inc. (collectively, "Saint

Alphonsus"), by and through their counsel of record, Duke Scanlan & Hall, PLLC, and

Defendants Corizon, LLC f/k/a Correctional Medical Services, Inc. (incorrectly named as

Correctional Medical Systems, Inc.) and Corizon Health, Inc. (collectively, "Corizon”), by and

through their counsel of record, Elam & Burke, P.A. and Mintz, Levin, Cohn, Ferris, Glovsky &

Popeo, P.C., and hereby stipulate and agree to extend the briefing deadlines regarding

Defendants' Motion for Leave to Amend Answer to Add Counterclaims (Dkt. 19), as follows:

       1.       Plaintiffs' response shall be due on January 9, 2019; and

       2.       Defendants' reply shall be due on January 30, 2019.



       DATED this 26th day of December, 2018.

                                              DUKE SCANLAN & HALL, PLLC



                                              By: /s/ Bryan A. Nickels
                                                   Keely E. Duke, Of the Firm
                                                   Bryan A. Nickels, Of the Firm
                                                   Attorneys for Plaintiffs

       DATED this 26th day of December, 2018.

                                               ELAM & BURKE, P.A.



                                               BY /S/ JOHN J. BURKE
                                                 John J. Burke - Of the Firm
                                                Joseph F. Southers - Of the Firm
                                                Attorneys for Defendants



STIPULATION FOR EXTENSION OF TIME TO FILE RESPONSE AND REPLY TO
DEFENDANTS' MOTION FOR LEAVE TO AMEND ANSWER TO ADD
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 26th day of December, 2018, I electronically filed the
foregoing STIPULATION FOR EXTENSION OF TIME TO FILE RESPONSE AND
REPLY TO DEFENDANTS' MOTION FOR LEAVE TO AMEND ANSWER TO ADD
COUNTERCLAIMS (DKT. 19), with the U.S. District Court. Notice will automatically be
electronically mailed to the following individuals who are registered with the U.S. District Court
CM/ECF System:

       Keely E. Duke                           ked@dukescanlan.com
       Bryan A. Nickels                        ban@dukescanlan.com



                                             /s/ John J. Burke
                                             John J. Burke
                                             Joseph F. Southers




STIPULATION FOR EXTENSION OF TIME TO FILE RESPONSE AND REPLY TO
DEFENDANTS' MOTION FOR LEAVE TO AMEND ANSWER TO ADD
COUNTERCLAIMS (DKT. 19) - 3
